                Case 4:04-cr-00252-JRH-CLR Document 280 Filed 09/08/15 Page 1 of 1

AO 24? (Rev. l1/11) OrderRegarding                               to 18U.S.C.S 3582(cX2)
                                                  ReductionPursuant
                                 Motionfor Sentence                                                   P€e 1of2 (Page2 Not for PublicDisclosure)



                                  UNrrnnSrarBsDtsrrucrCounr                                                          ' 'i,?lll3fifr9g
                                                                  for the
                                                     SouthernDistrictof Georgia                                   Z0J$S[P-O
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                                                        Savannah  Division
                                                                                                               ctEfil(
                 United Statesof America
                            v.
                                                                         CaseNo:                 I
                                                                                       4:04CR00252-
                     Barry Craig Garvin
                                                                        USM No: 08263-021
Date of Original Judgment:           .February2?,2095
Date of PreviousAmended Judgment: March q 2009                           Richard Metz
(UseDateof LastAntended
                      JudgnentifAny)                                    DefendLtnt'sAttomey


                ORDERREGARDINGMOTION FOR SENTENCEREDUCTION
                        PURSUANTTO 18U.S.C.$ 3s82(c)(2)
       Upon motionof g the defendant n theDirectorofthe BureauofPrisons n thecourtunderl8U.S.C.
$ 3582(c)(2)for a reductionin thetermof imprisonment imposedbasedon a guidelinesentencing    rangethathas
subsequently beenloweredandmaderetroactiveby theUnitedStatesSentencing        Commission  pursuant to 28 U.S.C.
$ 99a(u),andhavingconsidered    suchmotion,andtakinginto accountthepolicy statement   setfolth at USSG$ 1B1.10
andthe sentencing  factorssetforth in 18U.S.C.$ 3553(a),to the extentthatthey areapplicable,
lT lS ORDER-ED        tharthemotionis:
                                                                                    (asreflected
                                                                      of imprisonmenl
                                              previouslyimposedsentence
          D DENIED. E GRANTEDandthe defendant's                                               in
the lastjudgnent issued)of             300 monthsis reduced to               1 9 3
                                         (Complete Parts I and I! of Page 2 when motion is grdnted)




Except as otherwiseprovided, all provisions of the judgment dated
IT IS SO ORDERED.

OrderDate:
                   W
                                                               Dudley H. Borven,Jr.
EffectiveDate:        Novg4!g{, lQ15                           United StatesDistrict Judge
                   (if &ferent fron order date)                                             Printed name and title
